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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION


 EPIC GAMES, INC.,                               Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                     JOINT STATUS REPORT
                 Defendant, Counterclaimant.




The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Your Honor’s Discovery Standing Order, the Parties in the above-captioned
action respectfully submit this joint statement related to the evidentiary hearing concerning
Plaintiff Epic Games, Inc.’s (“Epic”) Motion to Enforce Injunction (Dkt. 897 (the “Motion”)).


Respectfully submitted,



CRAVATH, SWAINE                                   WEIL, GOTSHAL
& MOORE LLP                                       & MANGES LLP

 By: /s/ Yonatan Even                              By: /s/ Mark A. Perry
     Yonatan Even                                      Mark A. Perry
     Counsel for Epic Games,                           Counsel for Apple Inc.
     Inc.
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Epic’s Position:

       Since the Parties’ last Joint Status Report, the Special Masters have continued their
review of Apple’s re-reviewed production for claims of privilege. The Special Masters have just
over 1,600 documents remaining to review as of the afternoon of Tuesday, April 29, 2025. The
Special Masters appear likely to complete their review by their stated goal of May 15, 2025.
(Dkt. 1459.)

       At this time, Epic does not believe a status conference before Your Honor is necessary.

Apple’s Position:

        As of Tuesday evening, the Special Masters have reviewed approximately 22,124
documents and have approximately 1,652 remaining to review. Of the total documents they have
reviewed so far, the Special Masters have sustained in full about 94.75% of Apple’s privilege
assertions, sustained in part about .38% of the assertions, and overruled in full about 4.39% of
the assertions. The Special Masters have requested additional information related to about .47%
of the documents.
        Apple respectfully submits there are no issues before Your Honor for resolution except
the pending objections to certain of the Special Masters’ determinations. Apple submits it does
not have any items requiring discussion at the status conference, but as always, is prepared to
attend should Your Honor have any issues to discuss with the parties.




       Respectfully submitted,


 DATED: May 1, 2025                                 CRAVATH, SWAINE & MOORE LLP
                                                    By: /s/ Yonatan Even
                                                    Counsel for Plaintiff Epic Games, Inc.

                                                    WEIL, GOTSHAL & MANGES LLP
                                                    By: /s/ Mark A. Perry
                                                    Counsel for Defendant Apple Inc.




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